Case 1:12-cv-21915-WCT Document 1-2 Entered on FLSD Docket 05/21/2012 Page 1 of 1




     AD 440 (Rn'. 12109) Summon.~ ill a CMI Action



                           UNITED STATES DISTRICT COURT
                                       FOR THE SOUTHERN DISTRICT OF FLORIDA



    United Stat.s of America
    c/o NEWMAN & MARQUEZ, P.A.                          Cas. Numb.r:
    1533 SUliset Drive #225
    Coral Gables, FL 33143-5700

    vs.

    MARIA MEDINA A/K/A MARIA E CAPOTE
    PERSONAL AND CONFIDENTIAL 10240 SW 56TH ST S1'£ 108
    lJ;1L4MI, FL 33165
                           SUMMONS IN A CIVILAC110N

     TO: (Name and Address of Defendant)

                MARIA MEDINA A/K/A MARIA E CAPOTE
                PERSONAL AND CONFIDENTIAL 10240 SW 56TH ST STE 108
                MIAMI, FL 33165


            A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received
    it) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule
    12 of the Federal Rules of Civil Procedure. The answer or motion mUM be served on the
    plaintiff's attorney, whose name and address aTe:

    PLAINTIFF'S ATTORNEY (N,m",JAdd",,)

          Newman & Marquez. P.A.
          JENNIFER MARGOLIS MARQUEZ
          1533 Sunset Drive #225
          Coral Gables, Fl. 33143·5700


        If you fail to respond, judgment by default will be entered against you for tile relief demanded in
    the complaint. You must also file your answer or motion with the Clerk of tltis Court.


                                                                   CLERK OF COURT


    Date:
                                                                   Signature   ~f Clerk   or Deputy Clerk
